                                              Case 18-20457                       Doc 15         Filed 09/05/18               Page 1 of 24

               Fill in this information to identify your case and this filing:

 Debtor 1                    STEPHEN MAZZOLA
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     DISTRICT OF MARYLAND, BALTIMORE DIVISION

 Case number            18-20457                                                                                                                                Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                    12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                        What is the property? Check all that apply

                                                                                    Single-family home                           Do not deduct secured claims or exemptions. Put
        8214 Green Ice Dr                                                           Duplex or multi-unit building                the amount of any secured claims on Schedule D:
        Street address, if available, or other description                                                                       Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative

                                                                                    Manufactured or mobile home
                                                                                                                                Current value of the        Current value of the
        Pasadena                          MD        21122-3868                      Land                                        entire property?            portion you own?
        City                              State          ZIP Code                   Investment property                                $542,709.00                 $542,709.00
                                                                                    Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                    Other                                        (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one       a life estate), if known.
                                                                                    Debtor 1 only                                Tenancy by the Entirety
        Anne Arundel                                                                Debtor 2 only
        County                                                                      Debtor 1 and Debtor 2 only
                                                                                                                                     Check if this is community property
                                                                                    At least one of the debtors and another          (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            Lot no. 66, Section Five, FARMINGTON VILLAGE AT SCHRAMM'S
                                                                            CROSSING




Official Form 106A/B                                                              Schedule A/B: Property                                                                      page 1
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                                              Case 18-20457                   Doc 15           Filed 09/05/18                 Page 2 of 24
 Debtor 1          MAZZOLA, STEPHEN                                                                                         Case number (if known)          18-20457
        If you own or have more than one, list here:
 1.2                                                                     What is the property? Check all that apply

                                                                                  Single-family home                               Do not deduct secured claims or exemptions. Put
        8195 Poinsett Ter                                                         Duplex or multi-unit building
                                                                                                                                   the amount of any secured claims on Schedule D:
        Street address, if available, or other description                                                                         Creditors Who Have Claims Secured by Property .
                                                                                  Condominium or cooperative

                                                                                  Manufactured or mobile home
                                                                                                                                   Current value of the         Current value of the
        Pasadena                         MD         21122-3849                    Land                                             entire property?             portion you own?
        City                             State           ZIP Code                 Investment property                                    $308,212.00                   $308,212.00
                                                                                  Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                  Other     Townhouse                              (such as fee simple, tenancy by the entireties, or
                                                                         Who has an interest in the property? Check one            a life estate), if known.
                                                                                  Debtor 1 only                                    Tenancy by the Entirety
        Anne Arundel                                                              Debtor 2 only
        County                                                                    Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                  At least one of the debtors and another              (see instructions)
                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number:

                                                                         LT 190 SC 2, Map 0017, Grid 0019, Parcel 0684
                                                                         FARMINGTON VG/SCHRMS CRG


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                               $850,921.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:                                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                   the amount of any secured claims on Schedule D:
          Model:                                                       Debtor 1 only                                               Creditors Who Have Claims Secured by Property .
          Year:                                                        Debtor 2 only                                               Current value of the         Current value of the
          Approximate mileage:                                         Debtor 1 and Debtor 2 only                                  entire property?             portion you own?
          Other information:                                           At least one of the debtors and another
         2006 Jeep Wrangler SE
         VIN: 1J4FA29146P782375                                        Check if this is community property                                   $7,098.00                    $7,098.00
                                                                       (see instructions)
         Style / Body: SUV 2D Engine:
         2.4L I4 MPI
         Color: Silver
         Mileage: 082000

  3.2     Make:                                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                   the amount of any secured claims on Schedule D:
          Model:                                                       Debtor 1 only                                               Creditors Who Have Claims Secured by Property .
          Year:                                                        Debtor 2 only                                               Current value of the         Current value of the
          Approximate mileage:                                         Debtor 1 and Debtor 2 only                                  entire property?             portion you own?
          Other information:                                           At least one of the debtors and another
         2009 Infiniti G37 X
         VIN: JNKCV61F99M350252                                        Check if this is community property                                   $4,416.00                    $4,416.00
                                                                       (see instructions)
         Style / Body: Sedan 4D Engine:
         3.7L V6 SFI
         Color: Silver
         Mileage: 1760000



Official Form 106A/B                                                         Schedule A/B: Property                                                                              page 2
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                                       Case 18-20457                  Doc 15         Filed 09/05/18              Page 3 of 24
 Debtor 1         MAZZOLA, STEPHEN                                                                             Case number (if known)     18-20457

  3.3    Make:                                              Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                                Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:                                                 Debtor 2 only                                           Current value of the      Current value of the
         Approximate mileage:                                  Debtor 1 and Debtor 2 only                              entire property?          portion you own?
         Other information:                                    At least one of the debtors and another
         2007 Volvo XC90
         VIN: YV4CZ982971338379                                Check if this is community property                               $2,639.00                 $2,639.00
                                                               (see instructions)
         Style / Body: SUV 4D Engine:
         3.2L I6 MPI
         Country of Assembly: Sweden
         Mileage 150,000


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                $14,153.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
      No
        Yes. Describe.....
                                   Large Appliances: Stove, Diswasher, Washer, Dryer                                                                        $1,500.00

                                   Furniture: Beds, dressers, night tables, lamps, chairs, couch,
                                   coffee table, dining room table and chairs, wall pictures, etc.                                                             $500.00

                                   Small kitchen appliance, dishes, pots, flatware, glassware etc.                                                             $150.00

                                   Linen, comforters, blankets, towels, etc.                                                                                   $100.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
      No
        Yes. Describe.....
                                   iPads, iPhones, TV's, XBox etc                                                                                              $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
        No
        Yes. Describe.....


Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 3
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                                                Case 18-20457                             Doc 15                 Filed 09/05/18     Page 4 of 24
 Debtor 1         MAZZOLA, STEPHEN                                                                                                Case number (if known)   18-20457
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       No
       Yes. Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
       Yes. Describe.....
                                           Suits, Slacks, Shirts, Polos, Jeans, Casuals, Sleepwear, Seasonal
                                           Coats and Jackets, Undergarments                                                                                                $400.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
       Yes. Describe.....
                                           Watch                                                                                                                             $50.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
       No
       Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                                    $3,200.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                 Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
       Yes................................................................................................................
                                                                                                                                     Cash on Hand                          $200.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                   institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes........................                                     Institution name:


                                             17.1.       Checking Account                        BOFA Joint Checking account ending 2179                                   $173.37



                                             17.2.       Checking Account                        BOFA Joint Account ending 2376                                            $442.63



                                             17.3.       Savings Account                         BOFA Joint Savings Account ending 2376                                      $45.89




Official Form 106A/B                                                                      Schedule A/B: Property                                                               page 4
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 Debtor 1        MAZZOLA, STEPHEN                                                                         Case number (if known)    18-20457

                                                                           BOFA Checking (Gladiators) account ending
                                     17.4.    Checking Account             8193                                                                   $457.46


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
       No
       Yes. Give specific information about them...................
                                  Name of entity:                                                           % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
       Yes. List each account separately.
                                Type of account:                           Institution name:
                                     401(k) or Similar Plan                Vangaurd/Medline Retirement Account                                 $627,654.23


22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                  Institution name or individual:
                                     Security Deposit on                   Security Deposit on Rental Property:                                  $2,000.00
                                     Rental Unit                           Poinsett Terrace


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...




Official Form 106A/B                                                Schedule A/B: Property                                                           page 5
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                                          Case 18-20457                      Doc 15            Filed 09/05/18                   Page 6 of 24
 Debtor 1        MAZZOLA, STEPHEN                                                                                           Case number (if known)         18-20457

 Money or property owed to you?                                                                                                                              Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security benefits;
              unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                  Company name:                                                                  Beneficiary:                                 Surrender or refund
                                                                                                                                                              value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................           $630,973.58

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
Official Form 106A/B                                                        Schedule A/B: Property                                                                             page 6
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 Debtor 1         MAZZOLA, STEPHEN                                                                                                      Case number (if known)   18-20457

           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $850,921.00
 56. Part 2: Total vehicles, line 5                                                                          $14,153.00
 57. Part 3: Total personal and household items, line 15                                                      $3,200.00
 58. Part 4: Total financial assets, line 36                                                                $630,973.58
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $648,326.58               Copy personal property total          $648,326.58

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,499,247.58




Official Form 106A/B                                                               Schedule A/B: Property                                                                          page 7
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              Fill in this information to identify your case:

 Debtor 1                 STEPHEN MAZZOLA
                          First Name                        Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                Last Name


 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND, BALTIMORE DIVISION

 Case number           18-20457
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Sc he dule C: T he Prope rt y Y ou Cla im a s Ex e m pt                                                                                                         4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from    Check only one box for each exemption.
                                                              Schedule A/B

                                                                   $542,709.00                              $542,709.00       Md. Const. art. III, § 43; 11
      8214 Green Ice Dr                                                                                                       U.S.C. § 522(b)(3)(B)
      Pasadena MD, 21122-3868                                                             100% of fair market value, up to
      County : Anne Arundel                                                               any applicable statutory limit
      Line from Schedule A/B: 1.1


                                                                   $308,212.00                              $308,212.00       Md. Const. art. III, § 43; 11
      8195 Poinsett Ter                                                                                                       U.S.C. § 522(b)(3)(B)
      Pasadena MD, 21122-3849                                                             100% of fair market value, up to
      County : Anne Arundel                                                               any applicable statutory limit
      Line from Schedule A/B: 1.2

      2006 Jeep Wrangler SE                                           $7,098.00                                   $681.64     Md. Code Ann., Cts. & Jud.
      VIN: 1J4FA29146P782375                                                                                                  Proc. § 11-504(b)(5)
      Style / Body: SUV 2D Engine: 2.4L                                                   100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                         any applicable statutory limit

      2006 Jeep Wrangler SE                                           $7,098.00                                 $4,550.00     Md. Code Ann., Cts. & Jud.
      VIN: 1J4FA29146P782375                                                                                                  Proc. § 11-504(f)(1)(i)(1)
      Style / Body: SUV 2D Engine: 2.4L                                                   100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                         any applicable statutory limit

      Large Appliances: Stove,                                        $1,500.00                                 $1,500.00     Md. Code Ann., Cts. & Jud.
      Diswasher, Washer, Dryer                                                                                                Proc. § 11-504(b)(5)
      Line from Schedule A/B: 6.1                                                         100% of fair market value, up to
                                                                                          any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                        page 1 of 3
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     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Furniture: Beds, dressers, night                                 $500.00                                   $500.00     Md. Code Ann., Cts. & Jud.
     tables, lamps, chairs, couch, coffee                                                                                   Proc. § 11-504(b)(4)
     table, dining room table and chairs,                                               100% of fair market value, up to
     wall pictures, etc.                                                                any applicable statutory limit
     Line from Schedule A/B: 6.2

     Small kitchen appliance, dishes,                                 $150.00                                   $150.00     Md. Code Ann., Cts. & Jud.
     pots, flatware, glassware etc.                                                                                         Proc. § 11-504(b)(4)
     Line from Schedule A/B: 6.3                                                        100% of fair market value, up to
                                                                                        any applicable statutory limit

     Linen, comforters, blankets, towels,                             $100.00                                   $100.00     Md. Code Ann., Cts. & Jud.
     etc.                                                                                                                   Proc. § 11-504(b)(4)
     Line from Schedule A/B: 6.4                                                        100% of fair market value, up to
                                                                                        any applicable statutory limit

     iPads, iPhones, TV's, XBox etc                                   $500.00                                   $500.00     Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 7.1                                                                                            Proc. § 11-504(b)(5)
                                                                                        100% of fair market value, up to
                                                                                        any applicable statutory limit

     Suits, Slacks, Shirts, Polos, Jeans,                             $400.00                                   $400.00     Md. Code Ann., Cts. & Jud.
     Casuals, Sleepwear, Seasonal Coats                                                                                     Proc. § 11-504(f)(1)(i)(1)
     and Jackets, Undergarments                                                         100% of fair market value, up to
     Line from Schedule A/B: 11.1                                                       any applicable statutory limit

     Watch                                                             $50.00                                    $50.00     Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 12.1                                                                                           Proc. § 11-504(f)(1)(i)(1)
                                                                                        100% of fair market value, up to
                                                                                        any applicable statutory limit

     Cash on Hand                                                     $200.00                                   $200.00     Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 16.1                                                                                           Proc. § 11-504(b)(5)
                                                                                        100% of fair market value, up to
                                                                                        any applicable statutory limit

     BOFA Joint Checking account                                      $173.37                                   $173.27     Md. Code Ann., Cts. & Jud.
     ending 2179                                                                                                            Proc. § 11-504(b)(5)
     Line from Schedule A/B: 17.1                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     BOFA Joint Account ending 2376                                   $442.63                                   $442.63     Md. Code Ann., Cts. & Jud.
     Line from Schedule A/B: 17.2                                                                                           Proc. § 11-504(b)(5)
                                                                                        100% of fair market value, up to
                                                                                        any applicable statutory limit

     BOFA Joint Savings Account ending                                 $45.89                                    $45.00     Md. Code Ann., Cts. & Jud.
     2376                                                                                                                   Proc. § 11-504(b)(5)
     Line from Schedule A/B: 17.3                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     BOFA Checking (Gladiators)                                       $457.46                                   $457.46     Md. Code Ann., Cts. & Jud.
     account ending 8193                                                                                                    Proc. § 11-504(b)(5)
     Line from Schedule A/B: 17.4                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 2 of 3
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     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     Vangaurd/Medline Retirement                                $627,654.23                                                 Md. Code Ann., Cts. & Jud.
     Account                                                                                                                Proc. § 11-504(h)(1)
     Line from Schedule A/B: 21.1                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     Security Deposit on Rental Property:                          $2,000.00                                  $2,000.00     Md. Code Ann., Cts. & Jud.
     Poinsett Terrace                                                                                                       Proc. § 11-504(b)(5)
     Line from Schedule A/B: 22.1                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 3 of 3
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              Fill in this information to identify your case:

 Debtor 1                   STEPHEN MAZZOLA
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:             DISTRICT OF MARYLAND, BALTIMORE DIVISION

 Case number           18-20457
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’s name.                 Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Ally Financial                           Describe the property that secures the claim:                  $8,783.55                 $4,416.00           $4,367.55
         Creditor's Name
                                                  2009 Infiniti G37 X VIN:
                                                  JNKCV61F99M350252 Style / Body:
                                                  Sedan 4D Engine: 3.7L V6 SFI
                                                  Color: Silver Mileage: 1760000
                                                  As of the date you file, the claim is: Check all that
         200 Renaissance Ctr                      apply.
         Detroit, MI 48243-1300                       Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)    Auto Loan
       community debt

 Date debt was incurred          2013-07                   Last 4 digits of account number        9937

 2.2     Citimortgage Inc                         Describe the property that secures the claim:               $105,598.00              $542,709.00          $105,598.00
         Creditor's Name
                                                  8214 Green Ice Dr, Pasadena, MD
                                                  21122-3868
                                                  Lot no. 66, Section Five,
                                                  FARMINGTON VILLAGE AT
                                                  SCHRAMM'S CROSSING
         PO Box 9438                              As of the date you file, the claim is: Check all that
         Gaithersburg, MD                         apply.
         20898-9438                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt
                                                                                             Second Mortgage
Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 4
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 Debtor 1 STEPHEN MAZZOLA                                                                                     Case number (if know)   18-20457
               First Name                  Middle Name                       Last Name



 Date debt was incurred          2006-11                     Last 4 digits of account number         7918

 2.3     M & T Bank                                 Describe the property that secures the claim:                  $131,069.00               $0.00   $131,069.00
         Creditor's Name
                                                    Home Equity Line of Credit 8195
                                                    Poinsett Terrace Pasadena, MD
                                                    As of the date you file, the claim is: Check all that
         1 Fountain Plz Fl 3                        apply.
         Buffalo, NY 14203-1420                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Line of Credit
       community debt

 Date debt was incurred          2006-10                     Last 4 digits of account number         4998

 2.4     Newpennfin-shellpointm                     Describe the property that secures the claim:                   $31,583.00               $0.00    $31,583.00
         Creditor's Name
                                                    Mortgage account LOAN MODIFIED
                                                    UNDER A FEDERAL GOVERNMENT
                                                    PLAN
         75 Beattie Pl Ste 300                      As of the date you file, the claim is: Check all that
         Greenville, SC                             apply.
         29601-2138                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Loan Modification/ Mortgage
       community debt

 Date debt was incurred          2003-07                     Last 4 digits of account number         1926

 2.5     Wells Fargo Dealer Svc                     Describe the property that secures the claim:                     $6,919.00          $2,639.00     $4,280.00
         Creditor's Name
                                                    2007 Volvo XC90 VIN:
                                                    YV4CZ982971338379 Style / Body:
                                                    SUV 4D Engine: 3.2L I6 MPI
                                                    Country of Assembly: Sweden
                                                    Mileage 150,000
         PO Box 1697                                As of the date you file, the claim is: Check all that
         Winterville, NC                            apply.
         28590-1697                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Auto Loan
       community debt



Official Form 106D                      Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 4
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 Debtor 1 STEPHEN MAZZOLA                                                                                     Case number (if know)          18-20457
               First Name                  Middle Name                       Last Name


 Date debt was incurred          2013-07                     Last 4 digits of account number         3590

 2.6     Wells Fargo Hm Mortgag                     Describe the property that secures the claim:                   $550,314.00                $542,709.00        $7,605.00
         Creditor's Name
                                                    Mortgage account 8214 Green Ice
                                                    Drive Pasadena, MD 21122
         8480 Stagecoach Cir                        As of the date you file, the claim is: Check all that
         Frederick, MD                              apply.
         21701-4747                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Mortgage
       community debt

 Date debt was incurred          2006-11                     Last 4 digits of account number         0785


 Add the dollar value of your entries in Column A on this page. Write that number here:                                    $834,266.55
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                                   $834,266.55

 Part 2:      List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          Ally Financial
          Attn: Bankruptcy Dept                                                                       Last 4 digits of account number   9937
          PO Box 380901
          Bloomington, MN 55438-0901

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          Citimortgage
          Attn: Centralized Bankruptcy                                                                Last 4 digits of account number   7918
          PO Box 9438
          Gaithersburg, MD 20898-9438

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.6
          Clerk of Anne Arundel Circuit Court
          8 Church Cir                                                                                Last 4 digits of account number   0785
          Annapolis, MD 21401-1934

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
          M & T Bank
          Attn: Bankruptcy                                                                            Last 4 digits of account number   4998
          PO Box 844
          Buffalo, NY 14240-0844

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.6
          Shapiro & Brown, LLP
          10021 Balls Ford Rd Ste 200                                                                 Last 4 digits of account number   0785
          Manassas, VA 20109-2666


Official Form 106D                      Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                                page 3 of 4
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 Debtor 1 STEPHEN MAZZOLA                                                                 Case number (if know)          18-20457
             First Name                Middle Name             Last Name



        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.4
        Shellpoint Mortgage Servicing
        Attn: Bankruptcy                                                          Last 4 digits of account number   1926
        PO Box 10826
        Greenville, SC 29603-0826

        Name, Number, Street, City, State & Zip Code                              On which line in Part 1 did you enter the creditor?   2.5
        Wells Fargo Dealer Services
        Attn: Bankruptcy                                                          Last 4 digits of account number   3590
        PO Box 19657
        Irvine, CA 92623-9657




Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                               page 4 of 4
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      Fill in this information to identify your case:

 Debtor 1                   STEPHEN MAZZOLA
                            First Name                         Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                         Middle Name                       Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND, BALTIMORE DIVISION

 Case number            18-20457
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                             Total claim

 4.1          Driftwood Beach Condomium                                Last 4 digits of account number          2214                                                    $7,952.00
              Nonpriority Creditor's Name
                                                                       When was the debt incurred?
              15 S Broadway # 20
              Cape May, NJ 08204-1336
              Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                              Contingent
                  Debtor 2 only                                              Unliquidated
                  Debtor 1 and Debtor 2 only                                 Disputed
                  At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                     Student loans
              debt                                                        Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                          report as priority claims
                  No                                                         Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                        Other. Specify   LawSuit account opened 2/12/14




Official Form 106 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 2
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                                       Case 18-20457                     Doc 15           Filed 09/05/18              Page 16 of 24
 Debtor 1 MAZZOLA, STEPHEN                                                                                 Case number (if know)             18-20457

 4.2       United Collection Bureau Inc                            Last 4 digits of account number          1748                                                 $2,257.25
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?
           5620 Southwyck Blvd Ste 206
           Toledo, OH 43614-1501
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Medical Bill Suburban Hospital

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 CAPE MAY COUNTY SPECIAL                                     Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 CIVIL PART                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 9 N Main St, Cape May Court
 House, NJ 08
                                                             Last 4 digits of account number                      2214

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                 Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                 Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                      10,209.25

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                      10,209.25




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 2 of 2
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                                        Case 18-20457                      Doc 15     Filed 09/05/18         Page 17 of 24

              Fill in this information to identify your case:

 Debtor 1                 STEPHEN MAZZOLA
                          First Name                         Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name                Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND, BALTIMORE DIVISION

 Case number           18-20457
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                       State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 1
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              Fill in this information to identify your case:

 Debtor 1                   STEPHEN MAZZOLA
                            First Name                           Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name            Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF MARYLAND, BALTIMORE DIVISION

 Case number           18-20457
 (if known)                                                                                                                        Check if this is an
                                                                                                                                   amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                          Check all schedules that apply:


    3.1         Gemma Mazzola                                                                             Schedule D, line   2.2
                8214 Green Ice Dr                                                                         Schedule E/F, line
                Pasadena, MD 21122-3868
                                                                                                          Schedule G
                                                                                                       Citimortgage Inc



    3.2         Gemma Mazzola                                                                            Schedule D, line   2.5
                8214 Green Ice Dr                                                                        Schedule E/F, line
                Pasadena, MD 21122-3868
                                                                                                        Schedule G
                                                                                                       Wells Fargo Dealer Svc



    3.3         Gemma Mazzola                                                                            Schedule D, line   2.6
                8214 Green Ice Dr                                                                        Schedule E/F, line
                Pasadena, MD 21122-3868
                                                                                                        Schedule G
                                                                                                       Wells Fargo Hm Mortgag




Official Form 106H                                                                  Schedule H: Your Codebtors                                  Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      STEPHEN MAZZOLA

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       DISTRICT OF MARYLAND, BALTIMORE DIVISION

Case number               18-20457                                                                         Check if this is:
(If known)
                                                                                                               An amended filing
                                                                                                               A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:

Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                    Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                      Not employed                                Not employed
       employers.
                                             Occupation              VP National Account Sales
       Include part-time, seasonal, or
       self-employed work.                   Employer's name         Medline Industries Inc

       Occupation may include student or Employer's address
                                                                     3 Lakes Dr
       homemaker, if it applies.
                                                                     Northfield, IL 60093-2753

                                             How long employed there?           21 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $       10,833.34         $             0.00

3.     Estimate and list monthly overtime pay.                                                 3.   +$       19,562.16         +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $    30,395.50                $      0.00




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
                                Case 18-20457               Doc 15         Filed 09/05/18                   Page 20 of 24


Debtor 1    MAZZOLA, STEPHEN                                                                        Case number (if known)    18-20457


                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $      30,395.50      $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $      10,322.90   $                  0.00
      5b.    Mandatory contributions for retirement plans                                    5b.        $           0.00   $                  0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $           0.00   $                  0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $           0.00   $                  0.00
      5e.    Insurance                                                                       5e.        $           0.00   $                  0.00
      5f.    Domestic support obligations                                                    5f.        $           0.00   $                  0.00
      5g.    Union dues                                                                      5g.        $           0.00   $                  0.00
      5h.    Other deductions. Specify: Medical Gold Plan                                    5h.+       $         977.80 + $                  0.00
             Dental Plan Deduction                                                                      $         159.08   $                  0.00
             401K                                                                                       $       1,738.66   $                  0.00
             Health Care - Flex Spending                                                                $         220.84   $                  0.00
             Cafeteria Purchases                                                                        $          19.90   $                  0.00
             401K Loan 12                                                                               $         465.70   $                  0.00
             401K Loan 13                                                                               $         243.78   $                  0.00
             Employee Purchases                                                                         $         114.22   $                  0.00
             Personal Expenses                                                                          $           0.00   $                  0.00
             FEd Addl Med                                                                               $          57.04   $                  0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $          14,319.92      $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          16,075.58      $               0.00
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $        2,000.00     $               0.00
      8b. Interest and dividends                                                             8b.        $            0.00     $               0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00   $               0.00
      8d. Unemployment compensation                                                          8d.        $              0.00   $               0.00
      8e.    Social Security                                                                 8e.        $              0.00   $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                  0.00   $                 0.00
      8g. Pension or retirement income                                                       8g. $                   0.00   $                 0.00
      8h. Other monthly income. Specify: 2017 Federal Refund                                 8h.+ $              1,361.33 + $                 0.00
             2017 MD Tax Refund                                                                   $                363.75   $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $           3,725.08      $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            19,800.66 + $          0.00 = $          19,800.66
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.    +$              0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.       $      19,800.66
                                                                                                                                         Combined
                                                                                                                                         monthly income



Official Form 106I                                                      Schedule I: Your Income                                                         page 2
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Debtor 1   MAZZOLA, STEPHEN                                                                 Case number (if known)   18-20457

13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                Schedule I: Your Income                                       page 3
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Fill in this information to identify your case:

Debtor 1                 STEPHEN MAZZOLA                                                                     Check if this is:
                                                                                                                 An amended filing
Debtor 2                                                                                                         A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF MARYLAND, BALTIMORE                                           MM / DD / YYYY
                                          DIVISION

Case number           18-20457
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and                     Fill out this information for    Dependent’s relationship to        Dependent’s      Does dependent
                                            Yes.   each dependent..............     Debtor 1 or Debtor 2               age              live with you?
      Debtor 2.

      Do not state the                                                                                                                      No
      dependents names.                                                             Son                                18                   Yes
                                                                                                                                            No
                                                                                    Son                                16                   Yes
                                                                                                                                            No
                                                                                    Son                                12                   Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                           3,953.64

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.   $                            0.00
      4b. Property, homeowner’s, or renter’s insurance                                                      4b.   $                            0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.   $                          350.00
      4d. Homeowner’s association or condominium dues                                                       4d.   $                           56.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.   $                          590.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     MAZZOLA, STEPHEN                                                                          Case number (if known)       18-20457

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                                 6a.   $                               378.50
      6b. Water, sewer, garbage collection                                                                   6b.   $                                48.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                                 6c.   $                               305.46
      6d. Other. Specify: Cell Phone                                                                         6d.   $                               465.53
             Electricity (blue knob)                                                                               $                               223.30
7.    Food and housekeeping supplies                                                            7.                 $                             1,000.00
8.    Childcare and children’s education costs                                                  8.                 $                             3,489.82
9.    Clothing, laundry, and dry cleaning                                                       9.                 $                               450.00
10.   Personal care products and services                                                      10.                 $                               250.00
11.   Medical and dental expenses                                                              11.                 $                               350.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               500.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               250.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                37.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               350.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               460.00
      17b. Car payments for Vehicle 2                                                         17b. $                                               450.00
      17c. Other. Specify:                                                                    17c. $                                                 0.00
      17d. Other. Specify:                                                                    17d. $                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                               526.23
      20b. Real estate taxes                                                                  20b. $                                                 0.00
      20c. Property, homeowner’s, or renter’s insurance                                       20c. $                                                 0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                               100.00
      20e. Homeowner’s association or condominium dues                                        20e. $                                                86.00
21.   Other: Specify:    Equity Line of Credit (Poinsett Property)                             21. +$                                            1,761.83
      Sports Activities                                                                             +$                                             450.00
      College Room & Board                                                                          +$                                             220.00
      Student Loan                                                                                  +$                                             450.00
      Travel & Meal Expenses                                                                        +$                                           1,150.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                    18,701.31
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                    18,701.31
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                             19,800.66
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                            18,701.31

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                               1,099.35

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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      Fill in this information to identify your case:

Debtor 1                    STEPHEN MAZZOLA
                            First Name             Middle Name             Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:        DISTRICT OF MARYLAND, BALTIMORE DIVISION

Case number              18-20457
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ STEPHEN MAZZOLA                                               X
             STEPHEN MAZZOLA                                                   Signature of Debtor 2
             Signature of Debtor 1

             Date       September 5, 2018                                      Date
